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                                    EXHIBIT "A"


                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 SHERWYN ROCKE, individually and on                   Case No.: 1:20-cv-11736-RWZ
 behalf of all others similarly situated,
                                                               DECLARATION OF
                                Plaintiff,                    DIANE MAZZACANO
                           v.

 MONARCH RECOVERY
 MANAGEMENT, INC.,

                                Defendant.


       I, Diane Mazzacano, pursuant to 28 U.S.C. § 1746, hereby declare the following under

the penalty of perjury:

   1. I am the President of Defendant, Monarch Recovery Management, Inc. (hereinafter

       “Monarch”).

   2. On April 11, 2019 Monarch was engaged by First Premier Bank to recover a debt

       obligation owed by Plaintiff, Sherwyn Rocke (hereinafter “Plaintiff”) which was

       previously owed to Barclays Bank Delaware.

   3. Monarch sent Plaintiff an initial collection letter dated February 12, 2020 in an attempt to

       collect Plaintiff’s First Premier Bank debt.

   4. Monarch’s February 12, 2020 initial collection letter clearly and conspicuously informed

       Plaintiff that if he notified Monarch in writing within 30 days from receipt of the letter

       that the debt, or any portion thereof, was disputed, that Monarch would obtain

       verification of the debt or a copy of the judgment against him and that a copy of such

       verification or judgment would be mailed to him.




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5. Monarch’s February 12, 2020 initial collection letter clearly and conspicuously informed

   Plaintiff that if he made a required to Monarch in writing within 30 days after receiving

   Monarch’s letter that Monarch would provide him with the name and address of the

   original creditor, if different from the current creditor.

6. At no time did Monarch receive a writing from Plaintiff disputing his First Premier Bank

   debt.

7. At no time did Monarch become aware by any other means that Plaintiff disputed his

   First Premier Bank debt.

8. At no time did Plaintiff make a request in writing for Monarch to provide him with the

   name and address of the original creditor attributable to his debt.

9. At no time did Monarch receive a request from Plaintiff by any other means to provide

   the name and address of the original creditor attributable to his debt.

10. Monarch did not furnish any tradeline information to the credit bureaus including, but not

   limited to, Trans Union, Experian or Equifax regarding Plaintiff or his First Premier Bank

   debt.

             03-25-22
DATED:
                                                                DIANE MAZZACANO




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